  Case 4:24-cr-00298     Document 147     Filed on 01/24/25 in TXSD     Page 1 of 1
                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                             January 24, 2025
                  IN THE UNITED STATES DISTRICT COURT                       Nathan Ochsner, Clerk
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

 UNITED STATES OF AMERICA,                  §
                                            §
                                            §
 V.                                         §      Criminal Action No. H-24-298
                                            §
. EITHAN DAVID HAIM,                        §
                                            §
        Defendant.                          §
                                            §

                        AGREED ORDER OF DISMISSAL

      As the direct and only result of a joint motion of the parties, the United States

Attorneys Office of the Southern District of Texas, and legal counsel for the

Defendant, Eithan David Haim, the Second Superseding Indictment and all open

counts in the above-listed criminal case are hereby DISMISSED with prejudice.

      SIGNED at Houston, Texas, on this ':l.'tday of January, 2025.




                                                '.:j:Jz.J~
                                                    DAVID HITTNER
                                                   United States District Judge
